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Attorneys for the Plaintiff, Nelson-Ricks Cheese Company, Inc.

                          UNITED STATES DISTRICT COURT
                               DISTRICT OF IDAHO

NELSON-RICKS CHEESE COMPANY,
INC., an Idaho corporation,

       Plaintiff,                              Case No.: 4:16-cv-00427-DCN
vs.

LAKEVIEW CHEESE COMPANY, LLC, a                NOTICE OF THIRD PARTY
Nevada limited liability company,              SUBPOENAS

       Defendant.


       Please take notice that the attached Subpoenas for Production of Documents

Pursuant to Federal Rule of Civil Procedure 45 are being served on the parties identified in

the attached subpoenas.

DATED: September 29, 2017


/s/ John M. Avondet______________
John M. Avondet
Jared W. Allen
Of Beard St. Clair Gaffney PA
Attorneys for the Plaintiff




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                CERTIFICATE OF MAILING OR HAND DELIVERY

       I certify I am a licensed attorney in the state of Idaho, I have my office in Idaho

Falls, Idaho, and on September 29, 2017, I served a true and correct copy of the Notice of

Third Party Subpoenas upon the following by the method of delivery designated:

Teague I. Donahey                        E-Mail
Christopher C. McCurdy
Holland & Hart
800 W. Main Street, Ste. 1750
Boise, ID 83702-5974
Fax: (208) 343-8869


/s/ John M. Avondet______________
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                                                         Notice of Third Party Subpoenas - 2
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